012119.0015 .2V . 01163828 .001                                                                                       1604735 .Court . 278
              Case 16-04735-5-SWH United
                                   Doc 42States
                                           FiledBankruptcy Court 01/22/19 15:47:31
                                                01/22/19 Entered                       Page 1 of 2
                                                                           16-04735-5-SWH
                                              Eastern District of North Carolina Wilmington Division

                                                                            IN RE
                                                                          ALISA D COPELAND
           1604735                                                        2565 BELL WILLIAMS ROAD
           J ALLEN MURPHY
           GILLESPIE & MURPHY PA                                          BURGAW, NC 28425
           P O DRAWER 888                                                             SSN or Tax I.D. XXX-XX-9056
           NEW BERN, NC 28563




           U.S. Bankruptcy Court
           P.O. Box 791                                                   Other Names Used:
           Raleigh, NC 27602




                                                                                      CLAIM NO: - Court - A                        U.S.




                                                        MOTION TO DISMISS

    The undersigned Chapter 13 Trustee moves the Court to dismiss the above case because of the failure of the debtor(s)
    to comply with the Plan, and




    The debtor(s) are delinquent in the amount of $2,811.00 which is 2.46 payments
    as of the below date.


    The debtor(s) is (are) hereby notified that if a written response is not filed by the debtor(s) with the Trustee setting out
    reasons for the delinquency, the proposed method for bringing the Plan to a current status and a request for hearing
    within twenty-one (21) days of the date of this motion, then the case may be dismissed.




    DATED: January 21, 2019                                          /S/ Joseph A. Bledsoe, III
                                                                     Joseph A. Bledsoe, III
                                                                     Chapter 13 Trustee
                                                                                                              0015
                                  CERTIFICATE
                Case 16-04735-5-SWH                 OF MAILING
                                    Doc 42 Filed 01/22/19 Entered 01/22/19 15:47:31                  Page 2 of 2
CASE: 1604735        TRUSTEE: 2V                       COURT: 278                                       Page 1 of 1
TASK: 01-18-2019 .01163828 .BLB004                     DATED: 01/21/2019
Court                         Served Electronically

Trustee                       Joseph A. Bledsoe, III                       P.O. Box 1618
                                                                           New Bern, NC 28563
Debtor                        ALISA D COPELAND                             2565 BELL WILLIAMS ROAD
                                                                           BURGAW, NC 28425
799             000077        J ALLEN MURPHY                               GILLESPIE & MURPHY PA
                              P O DRAWER 888                               NEW BERN, NC 28563
                                                                                                       4 NOTICES
         THE ABOVE REFERENCED NOTICE WAS MAILED TO EACH OF THE ABOVE ON 01/21/2019.
         I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
         EXECUTED ON 01/21/2019 BY /S/EPIQ Systems, Inc.

*CM - Indicates notice served via Certified Mail
